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     GUADALUPE GUTIERREZ
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                 )   CASE NO. S-08-CR-292
                                               )
11                         Plaintiff,          )   STIPULATION;ORDER
                                               )
12   v.                                        )   Date:
                                               )   Time:
13   GUADALUPE GUTIERREZ,                      )   Judge: Hon. Lawrence K. Karlton
                                               )
14                                             )
                           Defendant.          )
15                                             )
                                               )
16
17           Defendant, GUADALUPE GUTIERREZ, through Christopher Haydn-Myer,
18   attorney at law, and the United States of America, through Assistant
19   U.S. Attorney Jason Hitt, agree as follows:
20           The parties hereby stipulate that Mr. Gutierrez has been
21   participating in substance abuse counseling since being released on
22   bail.    His counselor has informed Pretrial Services that he no longer
23   feels Mr. Gutierrez requires ongoing substance abuse counseling.
24   Therefore, in addition to the previously ordered conditions of
25   pretrial release for Mr. Guadalupe Gutierrez, condition number 9 is to
26   be modified to the following:
27           Mr. Gutierrez is no longer required to participate in
             substance abuse counseling as a condition of his pretrial
28           release. All other terms and conditions of pretrial release

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 1        previously imposed remain in effect.
 2   Counsel has contacted both Mrs. Rebecca Fidelman and Mr. Hitt, and the
 3   stipulation and proposed order are being requested by all parties.
 4
     Dated: November 15, 2011
 5                                          Respectfully submitted,
 6                                          /s/ Christopher Haydn-Myer
                                            ________________________________
 7                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
 8                                          Guadalupe Gutierrez
 9
     DATED: November 15, 2011               BENJAMIN B. WAGNER
10                                          United States Attorney
11                                          /S/ Christopher Haydn-Myer for
                                            Jason Hitt
12                                          Assistant U.S. Attorney
13 DATED: November 15, 2011                 /S/ Christopher Haydn-Myer for
                                            Rebecca Fidelman
14                                          Pre-Trial Services
15
16
17                                ORDER
18       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that Mr. Guadalupe
19 Gutierrez’ condition of release number 9 is to be modified. Based on
20 the stipulation of the parties, Mr. Gutierrez is no longer required to
21 participate in substance abuse counseling as a condition of his
22 pretrial release.     All other terms and conditions of pretrial release
23 previously imposed remain in effect.
24
25
     Dated: November 16, 2011
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27
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